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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

 UNITED STATES OF AMERICA

 V.                                                       NO. 3:19-CR-327-M
 OMERKUZU


                                       PLEA AGREEMENT

             Omer Kuzu, the defendant, Jason Hawkins, the defendant's attorney, and the

 United States of America (the government) agree as follows:

        1.          Rights of the defendant: The defendant understands that the defendant

· has the rights:

                    a.    to plead not guilty;

                    b.    to have a trial by jury;

                    c.    to have the defendant's guilt proven beyond a reasonable doubt;

                    d.    to confront and cross-examine witnesses and to call witnesses in the
                          defendant's defense; and

                    e.    against compelled self-incrimination.

Waiver of rights and plea of guilty: The defendant waives these rights and pleads
guilty to the offense alleged in Count One of the Indictment, charging a violation of 18
U.S.C. § 2339B, that is, Conspiracy to Offer Material Support to Terrorism. The
defendant understands the nature and elements of the crime to which the defendant is
pleading guilty, and agrees that the factual resume the defendant has signed is true and
will be submitted as evidence.

         2.         Sentence: The maximum penalties the Court can impose include:



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              a.        imprisonment for a period not to exceed 20 years;

              b.        a fine not to exceed $250,000, or twice any pecuniary gain to the
                        defendant or loss to the victim(s);

              c.        a term of supervised release of not more than life, which may be
                        mandatory under the law and will follow any term of imprisonment.
                        If the defendant violates the conditions of supervised release, the
                        defendant could be imprisoned for the entire term of supervised
                        release;

              d.        a mandatory special assessment of $100;

              e.        restitution to victims or to the community, which may be mandatory
                        under the law, and which the defendant agrees may include
                        restitution arising from all relevant conduct, not limited to that
                        arising from the offense of conviction alone;

              f.        costs of incarceration and supervision; and

              g.        forfeiture of prope1iy.

       3.     Immigration consequences: The defendant recognizes that pleading

guilty may have consequences with respect to the defendant's immigration status if the

defendant is not a citizen of the United States. Under federal law, a broad range of

crimes are removable offenses. The defendant understands this may include the offense

to which the defendant is pleading guilty, and for purposes of this plea agreement, the

defendant assumes the offense is a removable offense. Removal and other immigration

consequences are the subject of a separate proceeding, however, and the defendant

understands that no one, including the defendant's attorney or the district comi, can

predict to a certainty the effect of the defendant's conviction on the defendant's



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immigration status. The defendant nevertheless affirms that the defendant wants to plead

guilty regardless of any immigration consequences that the defendant's plea of guilty

may entail, even if the consequence is the defendant's automatic removal from the United

States.

          4.   Court's sentencing discretion and role of the Guidelines: The defendant

understands that the sentence in this case will be imposed by the Comt after consideration

of the United States Sentencing Guidelines. The guidelines are not binding on the Court,

but are advisory only. The defendant has reviewed the guidelines with the defendant's

attorney, but understands no one can predict with ce1tainty the outcome of the Comt's

consideration of the guidelines in this case. The defendant will not be allowed to

withdraw the defendant's plea if the defendant's sentence is higher than expected. The

defendant fully understands that the actual sentence imposed (so long as it is within the

statutory maximum) is solely in the discretion of the Court.

          5.   Mandatory special assessment: Prior to sentencing, the defendant agrees

to pay to the U.S. District Clerk the amount of $100, in satisfaction of the mandatory

special assessment in this case.

          6.   Defendant's agreement: The defendant shall give complete and truthful

information and/or testimony concerning the defendant's participation in the offense of

conviction. Upon demand, the defendant shall submit a personal financial statement

under oath and submit to interviews by the government and the U.S. Probation Office

regarding the defendant's capacity to satisfy any fines or restitution. The defendant

expressly authorizes the United States Attorney's Office to immediately obtain a credit


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report on the defendant in order to evaluate the defendant's ability to satisfy any financial

obligation imposed by the Court. The defendant fully understands that any financial

obligation imposed by the Court, including a restitution order and/or the implementation

of a fine, is due and payable immediately. In the event the Comi imposes a schedule for

payment of restitution, the defendant agrees that such a schedule represents a minimum

payment obligation and does not preclude the U.S. Attorney's Office from pursuing any

other means by which to satisfy the defendant' s full and immediately enforceable

financial obligation. The defendant understands that the defendant has a continuing

obligation to pay in full as soon as possible any financial obligation imposed by the

Court.

         7.   Government's agreement: The government will not bring any additional

charges against the defendant based upon the conduct underlying and related to the

defendant's plea of guilty. The government will file a Supplement in this case, as is

routinely done in every case, even though there may or may not be any additional terms.

The government will dismiss, after sentencing, any remaining charges in the pending

Indictment. This agreement is limited to the United States Attorney's Office for the

Nmihern District of Texas and does not bind any other federal , state, or local prosecuting

authorities, nor does it prohibit any civil or administrative proceeding against the

defendant or any property.

         8.   Violation of agreement: The defendant understands that if the defendant

violates any provision of this agreement, or if the defendant ' s guilty plea is vacated or

withdrawn, the government will be free from any obligations of the agreement and free to


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prosecute the defendant for all offenses of which it has knowledge. In such event, the

defendant waives any objections based upon delay in prosecution. If the plea is vacated

or withdrawn for any reason other than a finding that it was involuntary, the defendant

also waives objection to the use against the defendant of any information or statements

the defendant has provided to the government, and any resulting leads.

       9.     Voluntary plea: This plea of guilty is freely and voluntarily made and is

not the result of force or threats, or of promises apait from those set forth in this plea

agreement. There have been no guarantees or promises from anyone as to what sentence

the Court will impose.

       10.    Waiver of right to appeal or otherwise challenge sentence: The

defendant waives the defendant's rights, conferred by 28 U.S.C . § 1291 and 18 U.S.C. §

3742, to appeal the conviction, sentence, fine and order of restitution or forfeiture in an

amount to be determined by the district court. The defendant further waives the

defendant's right to contest the conviction, sentence, fine and order of restitution or

forfeiture in any collateral proceeding, including proceedings under 28 U.S.C. § 2241 and

28 U.S.C. § 2255. By entering this plea of guilty, the defendant waives any and all right

to withdraw his plea or to attack his conviction, either on direct appeal or collaterally, on

the ground that the Government has failed to produce any discovery material, Jencks

Act material, exculpatory material pursuant to Brady v. Maryland, 373 U.S. 83 (1963),

other than information establishing the factual innocence of the defendant, and

impeachment material pursuant to Gigliov. United States, 405 U.S. 150 (1972), that has

not already been produced as of the date of the signing of this Agreement. The


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defendant, however, reserves the rights (a) to bring a direct appeal of (i) a sentence

exceeding the statutory maximum punishment, or (ii) an arithmetic error at sentencing,

(b) to challenge the voluntariness of the defendant's plea of guilty or this waiver, and (c)

to bring a claim of ineffective assistance of counsel.

        11.    Representation of counsel: The defendant has thoroughly reviewed all

legal and factual aspects of this case with the defendant's attorney and is fully satisfied

with that attorney's legal representation. The defendant has received from the

defendant's attorney explanations satisfactory to the defendant concerning each

paragraph of this plea agreement, each of the defendant's rights affected by this

agreement, and the alternatives available to the defendant other than entering into this

agreement. Because the defendant concedes that the defendant is guilty, and after

conferring with the defendant's attorney, the defendant has concluded that it is in the

defendant's best interest to enter into this plea agreement and all its terms, rather than to

proceed to trial in this case.

       12.     Entirety of agreement: This document is a complete statement of the

parties' agreement and may not be modified unless the modification is in writing and

signed by all parties. This agreement supersedes any and all other promises,

representations, understandings, and agreements that are or were made between the

paiiies at any time before the guilty plea is entered in com1. No promises or

representations have been made by the United States except as set forth in writing in this

plea agreement.

       AGREED TO AND SIGNED this_ day of _ _ _ _ , 20_


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                                         ERIN NEALY COX
                                         UNITED STATES ATTORNEY



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       I have read or had read to me this plea agreement and have carefully reviewed
every part of it with my attorney. I fully understand it and voluntarily agree to it.


     8~~
OMERKUZU                                 Date
                                                3/5/ :2()
Defendant

        I am the defendant's attorney. I have carefully reviewed every part of this plea
agreement with the defendant. To my knowledge and belief, my client' s decision to enter
into this plea agreement is an informed and voluntary one.


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                                   Date
 .S. Federal Public Defender
Attorney for Defendant




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